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Laura Haya, et. al., Plaintiff(s)

vs.

Taishan Gypsum Co Ltd fka Shandong Taihe Dongxin Co., Ltd, et.

al., Defendant(s)

Service of Process by
APS International, Ltd.
1-800-328-7171

APS International Plaza
7800 Glenroy Road
Minneapolis, MN 55439-3122

APS File #: 111412-0359

AFFIDAVIT OF SERVICE -- Corporate

LEVIN, FISHBEIN, ET AL

Ms. Jennifer Lascio
510 Walnut St., Ste. 500

Philadelphia, PA 19106-3697

Service of Process on:
--Brooks & Freund, LLC
Court Case No. 11-1077 Section L

County of:

Lee

Name of Server:

Date/Time of Service:

Place of Service:

Documents Served:

Service of Process on:

Person Served, and
Method of Service:

Description of
Person Receiving
Documents:

Signature of Server:

)
M One a +2 , undersigned, being duly sworn, deposes and says

that at the time of service, s/he was of legal age and was not a party to this action;

that on the LO*W dayof uly ,20 \\ ,at 2/35 o'clock P M
OO A

,i Fort Myers, FL 33912

at 5661 Independence Circle Suite #1

the undersigned served the documents described as:
Summons; Plaintiffs' Omnibus Class Action Complaint (IX);Exhibits.

A true and correct copy of the aforesaid document(s) was served on:
Brooks & Freund, LLC

By delivering them into the hands of an officer or managing agent whose name and
title iss _K\Chood Freund } ieeg istereal LE ent

The person receiving documents is described as follows: At

Sex M ; Skin Color Un te ; Hair Color Gr { Ps ; oial Hair
Approx. Age 50 ‘S ; Approx. Height (9’ Up ; Approx. Weight UY S$

|_| To the best of my knowledge and belief, said person was not engaged in the US
Military at the time of service.

Undersigned declares under penalty of perjury Sybscribed and sworn to before me this
that the foregoing is trup and correct. ay of 4)

is tr
Signature of Server ST (OO

Notary Public (Commission Expires)
APS International, Ltd.

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TRACI A. DESALVO

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sengeeg

Comrdt DD0727525
epee Expires 10/22/2014
3 aL GRA Florida Notary Agsn., Inc

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